                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                   NO . : 5:17-CV-534 - H


EPIC GAMES , INC .

          Plaintiff ,


          v.
                                                                      ORDER

C . R.,

         Defendant .




         This matter is before the court on the letter sent to this

court     by Lauren       Rogers     ("Ms .    Rogers " ) ,     mother    and   guardian     of

Defendant C . R.,        which     this      court    has   construed as        a motion     to

dismiss .      [DE # 1 4) .     Plaintiff has responded ,            and this matter is

ripe for adjudication .


                                              BACKGROUND


           Plaintiff filed a complaint in this matter on October 23 ,

2017 .     On October 27 , 2017 , the clerk ' s office issued a summons to

defendant C . R.              It appears that at th e time of filing of the

complaint       and     issuance     of      the    summons ,    plaintiff      was   unaware

defendant       C. R.   was    a   minor .         On November     15 ,   201 7 ,   the   court

received a letter from Lauren A.                     Rogers on behalf of her minor




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son , C.R .,    in which she asks t h e court to dismiss the complaint

against C.R .


      Up on realizing that defendant C . R.        was a minor ,      plaintiff

sought an amended summons to effect proper service .                As detailed

in its motion for entry of default and declaration of service ,

plaintiff      appears   to   have   now   effectuated      proper     service .

Plaintiff then asked the court to enter default               for failure of

defendant to answer or otherwise respond .             This court found that

while it is tr u e that defendant has not responded since proper

service was effectuated ,      the letter from defendant ' s mother            [DE

#6)   detailing why this matter should be dismissed could not be

ignored .      Therefore , the court construed the letter [DE #6)          as a

motion to dismiss , and denied without prejudice defendant ' s motion

for   entry of default . 1     The   court notes    no    further    filings   or

letters have been received from defendant or his guardian .


      Plaintiff makes the following allegations in its complaint .

Plaintiff is a Cary , North Caro lina - based developer and publishe r

of computer games and computer game engine and content creation

software .     Plaintiff is the creator and owner of the popular game ,

Fortnite , a co - op survival and building action game . Plaintiff is

the author and owner of all rights ,         title ,     and interest in the


1 The court acknowledges that although it has construed the letter , in an
abundance of caution , as a motion to dismiss , there has been no official
appearance by anyone on behalf of the minor defendant. The letter construed as
a motion to dismiss is found redacted at DE #14 .

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copyrights      in     Fortn i te ,     incl u ding     without    limitation ,      its

underlying computer software and the audio visual works created by

the software .       These copyrights are detailed in the complaint .                  To

use plaintiff ' s services ,          such as playing Fortnite on a personal

computer , a user must create an account with EPIC and affirmatively

acknowledge that he has read and agreed to the Terms of Service .

Plaintiff alleges defendant has been banned from using plaintiff ' s

services at least 14 times for cheating , each time creating a user

account and affirmatively acknowledging acceptance of the terms .

As detailed in the complaint , defendant used cheat software while

playing Fortnite to unlawfully modify the software so that he had

an unfair advantage over other players .                  He also operates at least

two YouTube channels where he actively promotes , distributes , and

induces others to use cheat software .


                                COURT'S DISCUSSION


I.    Standard of Review

      A federal district court confronted with a motion to dismiss

for failure to state a claim should v i ew the allegations of the

complaint in the light most favorable to the plaintiff.                       See Ibarra

v . United States ,       120 F . 3d 472 ,    474     (4th Cir . 1 997)       The intent

of   Rule   12 (b) ( 6)   is   to     test   the    sufficiency     of    a   complaint .

Edwards v. City of Goldsboro , 178 F . 3d 231 , 243                 (4th Cir.     1999) .

A Rule 12(b) (6) motion "' does not resolve contests surrounding the


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facts , the merits of a claim , or the applicability of defenses .'"

Id.     (quoting Republican Party v. Martin ,                             980 F . 2d 943 ,        952   (4th

Cir . 1992)) .     " [O]nce a claim has been stated adequately ,                                    it may

be    supported by        showing            any    set     of    facts      consistent          with   the

allegations in the complaint ."                          Bell Atlantic Corp . v . Twombly ,

550 U. S . 544 , 563 (2007) .


        " [A] complaint need not ' make a case ' against a defendant or

' forecast evidence sufficient to prove an element '                                  of the claim ."

Chao v. Rivendell Woods ,                 Inc .,     415 F . 3d 342 ,         349     (4th Cir . 2005)

(quoting    Iodice       v.    United States ,               289       F . 3d 270 ,    281       (4th Cir .

2002)) .    Rule 8 of the Federal Rules of Civil Procedure provides

" for simplicity in pleading that intends to give little more than

notice to the defendant of the plaintiff ' s claims and that defers

until    after discovery any challenge to those                                 claims          insofar as

they rely on facts . "                 Teachers '        Ret . Sys . of La . v . Hunter ,               477

F . 3d 162 , 170 (4th Cir . 2 0 0 7) .              A complaint is generally sufficien t

if its "' allegations are detailed and informative enough to enable

the defendant       to    respond .'"               Chao ,       415    F . 3d at     349       (quoting 5

Charles    Alan    Wright          &    Arthur       R.     Miller ,       Federal      Practice        and

Procedure ,    §   1215       at       193    (3d    ed .    2004))            Thus ,       a    complaint

satisfies the Rules if it gives " fair notice " of the claim and

" the grounds upon which it rests ."                             Twombly ,     550 U. S . at 554 - 55

(internal quotation marks omitted) .



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     II.      Analysis


           Plaintiff , in its response memo , has detailed for the court

the arguments made by defendant in its letter deemed a motion to

dismiss and given a detailed response of why those arguments fail

without pr o per supp o rt .          [DE #17 at 7] .     As detailed in plaintiff ' s

response memo randum ,           defendant has not shown that the complaint

fails to allege sufficient facts to state a claim for relief that

is plausible on its face ; therefore ,                  in the light most favorable

to the plaintiff , plaintiff has stated a plausible claim , and the

motion to dismiss must be denied .                See ,       S. .:_r Joe Hand Promotions ,
                                                          -~-:.


Inc . v . Blackburn , No . 7 : 11 - CV- 276 - BO , 2012 WL 4863697             (2012) .


                                         CONCLUSION


           For the foregoing reasons , the letter construed as a motion

to dismiss [DE #14] is DENIED . Pursuant to Federal Rule of Civil

Procedure 1 2 (a) ( 4) , defendant shall have 14 days from notice of

this c o urt ' s instant order denying the letter deemed motion to

dismiss t o file an answer to plaintiff ' s complaint .                     Defendant is

additionally reminded to file a proper notice of appearance in

accordance with the Local Rules of this court .                          In an abundance

of caution , the clerk is directed to serve a copy of this order

on    defendant ,           through   his   mother ,       at     both   the   following

addresses :       C . R.,    c / o Lauren Rogers ,      5 Vireo Circle , Newark , DE




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19711 and C . R ., c/o Lauren Rogers , 501 West Ave ., New Castle , DE

19720 .

                  ~
      This ~ day of July . 2018 .




                                                    tes District Judge

At Greenville , NC
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